     Case 3:19-cv-00688-JAG Document 13 Filed 10/09/19 Page 1 of 5 PageID# 206



                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division

JOE ALEXANDER

         Plaintiff,

v.                                                             Case No. 3:19-cv-00688-JAG

DIET MADISON AVENUE, et al.,

         Defendants.

  PROPOSED INTERVENORS’ MEMORANDUM IN SUPPORT OF MOTION FOR
PROVISIONAL SEALING, OR IN THE ALTERNATIVE, FOR EXPEDITED HEARING

         Proposed Intervenors, The Interpublic Group of Companies, Inc. (“IPG”) and The Martin

Agency (“Martin”) (collectively, “Proposed Intervenors”), by counsel, pursuant to Rule 7 of the

Local Civil Rules for the United States District Court for the Eastern District of Virginia, hereby

submit this memorandum in support of their motion for provisional sealing, or in the alternative,

for an expedited hearing on Proposed Intervenors’ Motion For Leave To Intervene, To Seal

Confidential Information and For Protective Order [Dk. No. 5] (“Motion To Seal”).

         Local Civil Rule 5 provides that before the court will decide a sealing motion, parties and

non-parties shall have seven (7) days to file their objection, if any, to the motion. See Local Civil

Rule 5(C). The Rule’s briefing schedule contemplates that the information sought to be sealed is

already under seal on a provisional basis. See id. (“The document or portion of a document that is

the subject of a motion to seal . . . will be treated as sealed pending a determination by the Court

on a motion to seal.”). The information Proposed Intervenors seek to seal, however, is presently

accessible to the public; that is the problem Proposed Intervenors seek to remedy in their Motion

To Seal. Accordingly, expedited treatment of the Motion To Seal is appropriate and necessary to

ensure that the issue is not rendered moot as a result of Plaintiff’s unilateral disclosure, which, for
    Case 3:19-cv-00688-JAG Document 13 Filed 10/09/19 Page 2 of 5 PageID# 207



the reasons set forth in the Motion To Seal, Proposed Intervenors contend was improper.

            To avoid the Motion To Seal being mooted unfairly, Proposed Intervenors request that the

Court enter an order no later than Friday, October 11, 2019,1 sealing, on a provisional basis, the

information that is the subject of the Motion To Seal pending a final resolution of the Motion.

Specifically, Proposed Intervenors request that the Court order the Clerk to substitute Proposed

Intervenors’ proposed redacted Complaint [Dk. No. 9-2] for the existing non-redacted Complaint

[Dk. No. 1] until further order of the Court.

            Alternatively, Proposed Intervenors request that the Court enter an order requiring:

     (i)       that within the 7-day deadline set forth in Local Civil Rule 5, Plaintiff shall file his

               response to the Motion To Seal in its entirety; that is, respond to all issues raised in the

               Motion To Seal, not just the sealing issue;

     (ii)      that Proposed Intervenors shall file their rebuttal to any response to the Motion To Seal

               within three (3) days of the filing of any such response; and

     (iii)     that a hearing on the Motion To Seal shall be scheduled for a date convenient to the

               Court, but preferably as soon as possible.2




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       Under the circumstances, one day is sufficient notice to the public of Proposed Intervenors’
request to seal, provisionally, the information that is the subject of the Motion To Seal. See In re
Knight Pub. Co., 743 F.2d 231, 235 (4th Cir. 1984) (advance notice to public of sealing motion
need only be reasonable under the circumstances).
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        If the Court orders provisional sealing, Proposed Intervenors still request an expedited
hearing on the Motion To Seal. See Doe v. Pub. Citizen, 749 F.3d 246, 272 (4th Cir. 2014) (“The
public's interest in monitoring the work of the courts is subverted when a court delays making a
determination on a sealing request while allowing litigation to proceed to judgment in secret.”).
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  Case 3:19-cv-00688-JAG Document 13 Filed 10/09/19 Page 3 of 5 PageID# 208



        Undersigned counsel certifies that he conferred with Plaintiff’s counsel prior to filing this

motion and represents the following: (i) Plaintiff’s counsel has not yet reviewed the Motion To

Seal and is unable to identify Plaintiff’s position on any of the issues addressed in the Motion To

Seal; (ii) Plaintiff objects to provisionally sealing the information that is the subject of the Motion

To Seal; and (iii) Plaintiff has no objection to the alternative briefing schedule and expedited

hearing request set forth herein.

        WHEREFORE, Proposed Intervenors respectfully request that their motion be granted;

that the Court enter an order provisionally sealing the information that is the subject of the Motion

To Seal, or in the alternative, establishing the briefing schedule and an expedited hearing consistent

with the schedule outlined above; and that the Court award any additional relief it deems fair and

just.



Date: October 9, 2019.                                 Respectfully submitted,

                                                       THE INTERPUBLIC GROUP OF
                                                       COMPANIES, INC.
                                                       and
                                                       THE MARTIN AGENCY

                                                       By Counsel

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  Case 3:19-cv-00688-JAG Document 13 Filed 10/09/19 Page 4 of 5 PageID# 209



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                                           4
  Case 3:19-cv-00688-JAG Document 13 Filed 10/09/19 Page 5 of 5 PageID# 210



                                     CERTIFICATE OF SERVICE

           I hereby certify that on the 9th day of October, 2019, I will electronically file a copy of the

foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification

of such filing (NEF) to the registered participants as identified on the NEF to receive electronic

service, including:

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